               Case 5:19-cr-00286-SVK Document 92 Filed 05/25/22 Page 1 of 3




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12

13   UNITED STATES OF AMERICA,                      )   Case No. CR 19–00286 SVK
                                                    )
14           Plaintiff,                             )   GOVERNMENT’S SENTENCING
                                                    )   MEMORANDUM
15      v.                                          )
                                                    )
16   TRACY MICHAEL MAPES,                           )   Sentencing Date: May 31, 2022
                                                    )   Time: 2:00 p.m.
17           Defendant.                             )
                                                    )
18                                                  )
                                                    )
19

20 I.        INTRODUCTION
21           On January 10, 2022, the defendant Tracy Michael Mapes (“Mapes”) pled guilty to Counts One
22 and Two of the Information, which both charged violations of 49 U.S.C. §§ 46307 and 40103(b) –

23 Violation of National Defense Airspace. In the Presentence Investigation Report (“PSR”), the probation

24 office calculated a Total Offense Level of 4 and a Criminal History Category I, which yields a custodial

25 guideline range of 0 to 6 months. Probation recommends a sentence of two-years of probation.

26           On May 24, 2022, counsel for Mapes filed a sentencing memorandum and requested a sentence
27 of one year of probation. While the facts are not in dispute, the government is filing this memorandum

28 to respond to a couple of points raised by Mapes in his memorandum. In the end, however, the

     GOV’T SENTENCING MEM.                          1
     CR 19–00286 SVK
               Case 5:19-cr-00286-SVK Document 92 Filed 05/25/22 Page 2 of 3




 1 government agrees with probation and recommends that Mapes be sentenced to two-years of probation

 2 on the terms recommended by probation.

 3 II.      FACTS

 4          As the court is aware, the charges that the defendant pled guilty to arouse after Mapes flew an

 5 Unmanned Aircraft System (UAS), also known as a drone, over Levi’s stadium, located in Santa Clara,

 6 California, and over the Oakland Coliseum, located in Oakland, California, on November 26, 2017.

 7 MAPES used the drone to drop leaflets over the crowd. As stated in the PSR, these “vulgar leaflets

 8 contained anti-media and corrupt government statements. A leaflet listed the Facebook website address

 9 of "www.facebook.com/redXsociety," which was also linked to Mapes.” PSR at ¶ 10.

10 III.     DISCUSSION

11          The parties agree that Mapes should face a sentencing range of 0-6 months. The government

12 believes that a sentence of two-years of probation meets the goals of sentencing expressed in 18 U.S.C.

13 § 3553(a). Among the many factors to consider are the nature and circumstances of the offense, the

14 history and characteristics of the defendant, and the need for the sentence imposed to reflect the

15 seriousness of the offense, promote respect for the law, provide just punishment, provide adequate

16 deterrence to criminal conduct, and to protect the public from further crimes of the defendant. See 18

17 U.S.C. §§ 3553(a)(1)-(2). The government believes that the sentences recommended by Mapes (one-

18 year of probation) is not sufficient in this case. Although nobody was hurt when Mapes dropped the
19 leaflets over Levi’s stadium the Oakland Coliseum, the potential for panic and injuries was significant.

20 In addition, based on statements by Mapes contained in the PSR, the government believes that Mapes

21 may reoffend. Accordingly, the government believes that a sentence of two-years of probation would

22 promote more respect for the law and deter future criminal conduct.

23          In Mapes’ sentencing memorandum, the defense acknowledges his conduct, but states that, “[n]o

24 injuries resulted from this activity.” Defendant’s Memorandum, p. 2, line 11. While this is true, Mapes’

25 conduct could have resulted is panic and significant bodily injury. In preparation for trial, the

26 government spoke to former Santa Clara County Sheriff’s Department Lieutenant (“Lt.”) Ray Carreira

27 (retired). Lt. Carreira was the Levi’s Stadium Command Center on November 26, 2017, and was

28 responsible for public safety and control operations for the NFL game taking place that day. If he had

     GOV’T SENTENCING MEM.                           2
     CR 19–00286 SVK
              Case 5:19-cr-00286-SVK Document 92 Filed 05/25/22 Page 3 of 3




 1 testified at trial, Lt. Carreira would have testified that, during the game, he was informed of a drone

 2 flying over the stadium. Lt. Carreira also saw the drone for himself and was then notified that the drone

 3 was dropping something over the stadium. At that time, Lt. Carreira had no idea what was dropping

 4 from the drone and believed that it could have been a harmful substance. Lt. Carreira also worried that

 5 individuals attending the game could have panicked and trampled other attendees. Lt. Carreira

 6 ultimately learned that the drone was only dropping leaflets, but the potential for injuries was real.

 7          In addition, there are several statements in the PSR attributable to Mapes that make the

 8 government questions whether he will reoffend. In particular, the PSR stated:

 9                  With regard to his future plans, Mr. Mapes responded with the following:
                    ‘Survive, Tell the Truth.’ With regard to the question U.S. Probation asks
10                  about what steps he has taken to achieve these goals, he stated, ‘Outing
                    illegal and unconstitutional government activities.’ In five or ten years,
11                  the defendant reported he sees himself doing the same thing, ‘Reporting
                    corruption until it does not exist.’ Regarding the question about what the
12                  probation office can do to help him succeed, the defendant reported,
                    ‘Don’t bother me, I’m doing fine.’
13

14 PSR ¶ 41.

15          Bases on these statements, the government does not know whether Mapes understands the

16 seriousness of his conduct. In addition, because Mapes sees himself “doing the same things,” in five or

17 ten years, the government is concerned that he will reoffend. The government is hopeful that, with two

18 years of probation, Mapes can utilize the services of probation and get the help he needs -- whether he
19 wants it or not.

20 IV.      CONCLUSION

21          For the reasons set forth above, the government recommends that Mapes be sentenced to two-

22 years of probation on the terms recommended by probation.

23 DATED: May 25, 2022                                    Respectfully submitted,

24                                                        STEPHANIE M. HINDS
                                                          United States Attorney
25
                                                                  /s/
26                                                        JEFFREY A. BACKHUS
                                                          Assistant United States Attorney
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     GOV’T SENTENCING MEM.                           3
     CR 19–00286 SVK
